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Copies to: Judge
AUSA — Special Proceedings
Dft.

AQ243 MOTION UNDER 28 USC § 2255 TO VACATE, SET ASIDE, OR CORRECT
REV 6/82 SENTENCE BY A PERSON IN FEDERAL CUSTODY

District

=4 = tect fT
Mnitea States Bistrict Court Nirtriet of Columbia
Name of Movank Prisoner No. | Docket No.
SAMUFL, CARSON 1182-748 ga-309 TP

Place of Confinement

USP] LEWISBURG

(include name upon which ogi
SAMUEL CARSON ™ i. E D

(full name of movant) ren 2.9
TED LU a

UNITED STATES OF AMERIO

+

MOTION Clerk, U.S. District and

. . ryptcy Court
| Dis

. Name and location of court which entered the judgment of conviction under attack Eract PSHE ES T
Circuit, Washington|D.C.

January 30, 2002

. Date of fudgment of conviction

Life and|220 Years

. Length pf sentence
Drug conspiracy in violation of 21 U.S.C. §846

. Nature of offense involved (all counts)
Rico Conspiracy in violation 18 U.S.C.§1962(d); and VICAR in violation

18 U.S.c. § 1959

5. What was your plea? (Check one)
(a) Not guilty XX
(b) Guilty Oo
(c) Nolo contendere 0

entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:

N/A

6. Kind! of trial: (Check EK

(a) fury
(b) fudge only O

lyou testify at the trial?
(CO NoXX

ou appeal from the judgment jof conviction?
No O

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If you did appeal, answer the following.

D.C. Court of Apppeals

(2) Name of court

Affirmed

(b} Hesul
| July oh, 2006

(c) Thate of result

| . . © os
. Other !than a direct appeal from the |judgment of conviction and sentence, have you previously filed any petuons,
applications or motions with respect fo this judgment in any federal court?
STW
Yes No A%

11. Hf your answer to 10 was “yes,” give the following information:
|

(a) ( p Name of court

ip) Nature of proceeding
{

|
——4
|

(3) Grounds raised

N/A

Yes CO No 0

(4) Did you receive an evidentiary hearing on your petition, application or motion?
N/A

(5) Result.

(6) Date of result

| (b)_.As to any second petition, ap plication or motion give the same information:

N/A
QQ) Name of court

(2) Nature of proceeding

|
|

(3) Grounds raised

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(4) Did you receive an evidentiary hearing on your petition, application or motion?
Yes DO No O

/ (5) Result N/A

(6) Date of result

(c) AS to any third petition, application or mouon, give the same information:
(
({) Name of court

{2} Nature of proceeding

J
|
(3) Grounds raised |
|

_|
|

Yes No O
(5) Result

N/A
(6) Date of Result

(4) Did you receive an me hearing on your petition, application or motion?

(d) Did you appeal, to an appellate federal court having jurisdiction, the result of action taken on any petition, application
or motion?

(1) First petition, etc. Yes [1 No 0
(2) Second petition, etc. Yes C1 No 01 N/A
(3) Third petition, etc. Yes CO No UO)

(e) If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not:

NSA

State concisely every groundjon which you claim that you are bemg held unlawfully. Summarize briefly the facts supporting
each ground. If necessary, you may attach pages stating additional grounds and facts supporting same.

CAUTION If you fail to set forth all grounds in this motion, you may be barred from presenting additional grounds at a
later date.

For your information, the following is a list of the most frequently raised grounds for relief in these proceedings. Each
statement preceded by a letter constitutes a separate ground for possible relief. You may raise any grounds which you have
other than those listed. However, you should raise in this motion all available grounds (relating to this conviction) on which
you based your allegations that you are being held in custody unlawfully.

Do not check any of these fisted grounds. If you select one or more of these grounds for relief, you must allege facts. The
motion will be returned to you if you merely check (a) through G) or any one of the grounds.

(a) Conviction obtained by plea of guilty which was unlawfully induced or not made voluntarily or with understanding of
the nature of the charge and the consequences of the plea.

(b) Conviction obtained by use of coerced confession.

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(c)
(d)
(€)
(f)

(2)
(h)
Q)
Q)

Conviction obtained by use of evidence gained pursuant to an unconstitutional search and Seizure.

Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.

Caomviction obtained by a violation of the privilege against self-incriminauon. . 41
Cqnviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence favorable
to/the defendant.

Conviction obtained by a violation of the protection against double jeopardy ed
Conviction obtained by action of|a grand or petit jury which was unconstitutionally selected and impanelled.
Denial of effective assistance of counsel.

Denial of right of appeal.

The Petitioner Was Deprived His Sixth Amendment
A. Ground one:

Right To Effec

tive Assistance of Counsel

Supporting FACTS (tell your story briefly without citing cases or law:

| A) Failure to] Investigate; B) Failure to Object to Inadmissabl
|

Evidence

See Attached Memorandum of Law and Facts

Sentdnce Imposed in Violation of The United States

B. Ground two:
Constitution |

Supporting FACTS (te
See Attac

l) your story briefly without citing cases or law):
ed Memorandum of Law and Facts

pe

Newly Discovered Evidence Establishes That The
C. Ground three:
Petitioner Has Denied His Fifth Amendment Right

To Due Proceg

Supporting FACTS (tell your story briefly without citing cases or law):

See Attached Memorandum of Law and Facts

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(5)
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D Ground four
N/A

Supporting FACTS (telllyour story brrefly without citing cuses or law)

N/A

. If any of the grounds listed in 12A, B, C, and D were not previously presented, state briefly what grounds were not so
presdnted, and give your reasons foy not presenting them:

Ineffective lassistance of counsel claims are to be raised on

appeal; appellate colunsel ineffective for not raising sentencing issue

New evidence establilshed due process violations.

you have any petition or appeal now pending in any court as to the judgment under attack?
0 No %

ve the name and address, if known, of each attorney who represented you in the following stages of the judgment attacked

neferne uri_and Lexi-Negin-Christ.~-419- 7th- Strect NiW.-

h) At preliminary hearing

Washington, |D.C. 20004

Same

bd) At arraignment and plea

(c)At tral

Kd) At sentencing

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Faul Rosenzweig 214 Massachusetts Avenue., N.E. Washington D.C. 20002; _/
Edward Sussman 601 Pennsylvania Ave., N.W. South Building, Washington D.C. 20004 (Certiorart

pppeal

iny post-conviction proceeding

N/A

h appeal from any adverse ruling in a post-conviction proceeding

N/A

. Were you sentenced on more than one|count of an indictment, or on more than one indictment, in the same court and at

approx{mately the same time?
Yes *4INoO

. Do yo have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
Yes Ci} No

f

(a) If go, give name and location of court which imposed sentence to be served in the future:

N/A

ve date and length of the above sentence:

hve you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence to be

rved in the fumre?
ts [) No EX

lore, movant prays that the Court grant him all relief to which he may be entitled in this proceeding.

Signature of Attorney (if any)

I declfre under penalty of peryury that the foregoing is true and correct. Executed on

February 18, 2008
(date)

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Signature of Movant

